    Case 2:22-cv-12586-MAG-CI ECF No. 9, PageID.288 Filed 01/23/23 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

TRAVELERS CASUALTY COMPANY
OF AMERICA,

               Plaintiff,                                    Civil Action No. 22-cv-12586

v                                                            HON. MARK A. GOLDSMITH

H.B. ELECTRICAL SERVICES, LLC d/b/a
HARRIS BOYS ELECTRICAL SERVICES,

            Defendant.
__________________________________/

                                   ORDER OF DISMISSAL

        On January 19, 2023, Plaintiff filed a notice of dismissal with the Court (Dkt. 8). Rule

41(a)(1)(A)(i) of the Federal Rules of Civil Procedure provides that a “plaintiff may dismiss an

action without a court order by filing a notice of dismissal before the opposing party serves either

an answer or a motion for summary judgment.” Rule 41 also states that “[u]nless the notice or

stipulation states otherwise, the dismissal is without prejudice.” Fed. R. Civ. P. 41(a)(1)(B).

Because Defendant has not yet served an answer or motion for summary judgment, and because

the notice of dismissal states that the dismissal is without prejudice, the Court hereby orders the

instant action dismissed without prejudice.


        SO ORDERED.


Dated: January 23, 2023                              s/Mark A. Goldsmith
       Detroit, Michigan                             MARK A. GOLDSMITH
                                                     United States District Judge
